                       IN THE UNITED STATE DISTRICT COURT
                       FOR THE DISTRICT OF NEW HAMPSHIRE

ORLANDO ALFRED, Individually and on               Case No. 1:20-cv-00637- SM
Behalf of All Others Similarly Situated,

                       Plaintiff                  CLASS REPRESENTATION

        v.

TRUSTEES OF DARTMOUTH COLLEGE
dba DARTMOUTH COLLEGE,

                       Defendant



                     AFFIDAVIT OF BRENTON J. GOODMAN
             IN SUPPORT OF MOTION FOR ADMISSION PRO HAC VICE

        I, Brenton J. Goodman, make the following statements in support of my motion for

admission pro hac vice in this case:

        1.     I am over 18 years old, and have personal knowledge of the facts set forth herein.

        2.     My office address is Levin, Papantonio, Thomas, Mitchell, Rafferty & Proctor,

P.A., 316 S. Baylen Street, Suite 600, Pensacola, FL 32502. My office number is (850) 435-

7170.

        3.     My current bar memberships and dates of admission:
               Court                                                       Admission Date
               State of Florida                                            12/02/2016
               U.S. District Court for the Northern District of Florida    02/12/2019
               U.S. District Court for the Southern District of Florida    09/16/2019
               U.S. District Court for the Middle District of Florida      09/16/2019

        4.     I am in good standing and eligible to practice in the above courts.

        5.     I am not currently suspended or disbarred by any court.

        6.     I do not have any previously imposed or pending disciplinary matters.

        7.     I have not been convicted of any felony or misdemeanor.
       8.      I have never had any pro hac vice admissions revoked or denied.

       9.      I solemnly affirm under penalties of perjury and upon personal knowledge that the

contents of the foregoing paper are true.


       DATED: June 4, 2020                     s/Brenton J. Goodman
                                               Brenton J. Goodman
                                               LEVIN, PAPANTONIO, THOMAS,
                                               MITCHELL, RAFFERTY & PROCTOR, P.A.
                                               bgoodman@levinlaw.com
                                               316 S. Baylen St., Suite 600
                                               Pensacola, FL 32502
                                               Tel: (850) 435-7170
                                               Fax: (850) 436-6171


       I declare under penalty of perjury the foregoing is true and correct.


                                               s/Brenton J. Goodman
                                               Brenton J. Goodman




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